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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




DISTRICT OF COLUMBIA,                                                Civil Cause of Action

                          Plaintiff,                                 1:21-CV-03267-APM

                  v.

PROUD BOYS INTERNATIONAL, LLC, et al.                           Assigned to the Honorable
                                                                  Judge Amit Mehta
                          Defendants.


                                 MOTION OF DEFENDANTS

                                   EDWARD VALLEJO
                                  ROBERTO A. MINUTA
                                ELMER STEWART RHODES
                                 JONATHAN PETER KLEIN
                                 WILLIAM JOSEPH PEPE
                                   DOMINIC PEZZOLA

                    TO RESCHEDULE DEADLINE FOR
                 ANSWER TO THE AMENDED COMPLAINT,
       AFFIRMATIVE DEFENSES, COUNTER-CLAIM 1, AND CROSS-CLAIMS 2

       Comes now the above-named Defendants, by undersigned counsel, who request that the

Court adjust the deadlines for the foregoing Defendants to file their Answers to the Amended

Complaint of the Plaintiff, along with any Affirmative Defenses, Counter-Claim, and/or Cross-

Claims, in parallel to those requested by Kenneth Harrelson.

       For the same reasons as the motion by Kenneth Harrelson, these Defendants also ask for

the same deadline to be ordered for them as well as for Harrelson.




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       If any
2
       If any
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       That is, counsel can file Answers by midnight tonight. But counsel cannot make the

prison bureaucracy cooperate fast enough to let the client’s review the 100 page drafts (the

Plaintiff’s Amended Complaint is 490 paragraphs) and make sure the specifics are correct, which

are slightly different in terms of who talked to whom, who was walking with whom, who heard

someone else say something and who did not, etc.

       Because the Plaintiff has scheduled a “meet and confer” consultation for 3 PM on

Tuesday, May 9, 2023, counsel is not asking for any longer delay than May 8, 2023, to

accommodate all interests. Because the Plaintiff’s counsel is familiar with their own client’s

Amended Complaint, we have not heard in consultations with the Plaintiff’s counsel any

objection to filing the Answer by May 8, 2023.

       Counsel has conferred with Plaintiff’s counsel and the only question was as to when the

deadline would be postponed to.

May 5, 2023                                  RESPECTFULLY SUBMITTED,



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                               AFFIRMATIVE DEFENSES 3

          Plaintiff's claims in the Amended Complaint should be dismissed in Defendants' favor

          based upon the following affirmative defenses. The Defendant specifically alleges as

          true each and every factual circumstance and element of each Affirmative Defense.



          A) Contributory Negligence: Plaintiff, the District of Columbia, is significantly

              responsible for the damages alleged in the Complaint. For example, District of

              Columbia Mayor Muriel Bowser refused to call in up to 10,000 to 20,000

              National Guard troops, pre-authorized by then Commander-in-Chief President

              Donald Trump, to protect the U.S. Capitol building and other areas of the

              District, despite being advised by federal law enforcement and security officials

              to take this action. The District did request about 153 National Guardsmen for

              traffic control only, and these were granted several days before January 6, 2021,

              and were in fact on duty and deployed on July 5-6, 2021. Therefore, the Plaintiff

              was fully aware that it could have requested additional National Guardsmen for

              other needs beyond just traffic duty, because it actually did request 153 National

              Guardsmen for traffic duty and received approval for them. The Plaintiff knows

              the process.

          B) Furthermore, Mayor Bowser officials not only allowed Antifa, so-called (mis-

              named) Black Lives Matter, anarchist, and other Leftist protestors to riot, run

              amok, batter Washington, D.C.'s Metro Police Department officers, commit



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       Credit due to Thomas Caldwell's attorney David Fischer from whose Answer Harrelson
incorporates his Affirmative Defenses.


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     arson, burn police cars, throw bricks and frozen water bottles, and destroy public

     property from 2017 through 2020. But then the District of Columbia and its

     officials celebrated and rewarded the rioters such as by renaming a plaza as

     Black Lives Matter Plaza, thereby capitulating to the violent riots. The District

     and its officials effectively endorsed and encouraged left-wing and anarchist

     rioters to burn churches, burn businesses, burn cars, and burn buildings; to topple

     historical statues; fomented a violent attack upon the White House as the nation's

     world-wide headquarters of its military and foreign policy and crisis management

     and which resulted in law enforcement officers being assaulted and injured and

     causing the U.S. Secret Service to evacuate President Trump from the Oval

     Office; failing to provide security for Republican U.S. Senators such as Rand

     Paul (R-KY), who was assaulted, battered, and threatened by a mob of BLM and

     Antifa protestors; and otherwise encouraging and tacitly approving of unruly and

     violent behavior. Mayor Bowser and District officials also figuratively

     "handcuffed" D.C. Metro Police and other law enforcement agencies in enforcing

     the law by threatening legal action against police for taking aggressive actions to

     quell left-wing violence in the District. Mayor Bowser's refusal to oppose

     violent rioting along with the District's officials doing likewise clearly

     contributed to the damages and injuries that Plaintiff alleges in the Amended

     Complaint. Accordingly, Plaintiff is barred from recovery based upon its

     contributory negligence.

 C) As a result, the Defendants came prepared to defend themselves against lawless

     rioters whom the Plaintiff celebrated and coddled for years and were then falsely




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     blamed for being ready to defend themselves and others where the District of

     Columbia failed to maintain order and safety.

 D) Proximate Causation and/or Mitigating Damages: Similarly, and for the same

     reasons just stated, the District of Columbia is the cause of many of its own costs.

     The District of Columbia – after having many decades of experience with mass

     demonstrations converging on the Nation’s Capitol – ignored warnings and failed

     to prepare to keep order. On information and belief, planners of peaceful

     demonstrations and a “March to the Capitol” applied for and received VALLEJO

     understands that it would not be a convincing defense to say “I’m not at fault

     because you left the jewelry store door open.” But VALLEJO did not commit

     any violence nor any property destruction. The Plaintiff is suing VALLEJO for

     what other people did, mostly people who are unidentified and whom VALLEJO

     has never met or known. Thus, it is valid in defense to say that the District of

     Columbia is trying to sue VALLEJO for actions by other people, when the

     District actually caused much of the damages it seeks recovery for. The correct

     analogy is that the jewelry store left the door open, but doesn’t know who robbed

     it, so they are accusing random, innocent people who did not do it. Most of the

     clashes between demonstrators and police began when the District of Columbia’s

     MPD arrived and took a very different approach than most of the U.S. Capitol

     Police. On one body-cam video, USCP officers are seen and heard confronting

     MPD officers asking “What are you doing???” as MPD officers fought with

     demonstrators. MPD officers, like USCP officers, did not follow their training or

     instructions concerning the use of force and especially use of non-lethal force.




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     Clashes with USCP and MPD officers and demonstrators were inflamed when

     police unlawfully (contrary to rules and instructions) fired rubber bullets and

     other munitions at the heads of demonstrators from above and blew out part of

     the face of demonstrator Joshua Black. The blood on the marble was from the

     demonstrators, not from the police. And the District of Columbia’s MPD and the

     USCP sparked off the clashes of which it now complains. Furthermore, the MPD

     knew that there was a planned “March to the Capitol” on the streets of

     Washington, D.C., and accommodated the march with deployment of police

     blocking side streets while allowing the march along Pennsylvania Avenue, N.W.

     Thus the MPD knew that there was a march and likely issued a permit for it. Yet

     the MPD deployed exactly zero (0) MPD officers at the terminus of the “March

     to the Capitol” leaving only 5 USCP officers standing behind some bike racks

     near the fountain now known as the “Peace Monument.” MPD knew weeks

     before January 6, 2021, that a march would end at the edge of the City’s streets

     where Pennsylvania Avenue, N.W. intersections Second Street, N.W. at the

     fountain. Furthermore, MPD officers were asked to allow certain self-appointed

     leaders of the crowd (including Alex Jones at one point) to address the crowd and

     try to calm them down and de-escalate the situation. MPD officers told them that

     officers were seeking permission to let them up on the steps to address the crowd.

     An answer never came. But this confused the crowd into thinking it would be

     okay to go up on the stairs as the yelling back and forth suggested. They gave

     the crowd an alternative understanding and explanation for what they were

     seeing. Furthermore, had the MPD cooperated with those self-appointed leaders




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     the crowd would likely have been at least partly de-escalated. Finally, the USCP

     (and even the MPD) had the ability to use the building’s massive public address

     system to warn the crowds to disperse. But they did not. And the MPD could

     have used portable megaphones to warn the police to disperse. But they did not.

     These actions would have mitigated the damages claimed.

 E) Mistaken Identity: While plaintiffs may often have to start with a lawsuit to find

     out who was actually to blame for injuries, clearly that was not VALLEJO nor

     any of the Defendants sued here. Out of around 500,000 to 1 million

     demonstrators in the District of Columbia on January 5-6, 2021, with about

     10,000 demonstrators at and around the U.S. Capitol and Capitol Grounds, and

     about 1000 charged mostly for misdemeanor trespassing, the District of

     Columbia has picked out 39 Defendants to be sued here. But these Defendants

     are not the people responsible for what the Plaintiff complains about.

 F) Lack of Damages – “Other”: The Plaintiff primarily alleges injury to MPD

     officers, which is clear enough to examine, but broadly alleges damages to the

     District of Columbia (not to the Federal Government) of other, unspecified,

     vaguely hinted at damages. Since the events at issue (those that are not normal

     Free Speech demonstrations) happened on Federal Government property,

     especially, it appears that there are really no damages other than injuries to MPD

     officers. Photographs complaining of “damage” to the Capitol Hill area show

     only debris (trash) – not damage. Defendant objects to the inclusion of routine

     clean-up of trash from a mass-demonstration (although typical of leftist

     demonstrations and not normal for conservative demonstrations) as “damage” to




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              anything in the District of Columbia or at or around the Capitol.

         G) Lack of Damages – Injuries to MPD Officers: While injuries to anyone,

              especially police officers, are a very serious matter, nevertheless for the purposes

              of a legal process to assign responsibility, the Plaintiff’s Complaint provides very

              little detail about who was injured, how, how much, and any indications as to

              how (context). Naturally Defendant is not suggesting public disclosure of names

              or personally identifying information or HIPPA-protected medical information.

              But at some point in some way the details of injuries claimed with regard to a

              large number of officers must be alleged or disclosed. Perhaps this will be

              addressed by a motion for a bill of particulars / more definite statement which

              would facilitate confidentiality of police officer and medical information.

              Furthermore, presumably the MPD responding at a 12:58 PM request from the

              U.S. Capitol Police for assistance means that (1) the District of Columbia had

              some kind of pre-existing memorandum of understanding to spell out the details

              of when the MPD assists USCP or perhaps the reverse. (2) The Federal

              Government has as of January 6, 2021, already agreed to reimburse and

              indemnify the District of Columbia for any costs incurred including for any

              injuries to MPD or any other District of Columbia officials. While of course

              money alone cannot fully remedy physical injuries or related effects, the

              Amended Complaint has not identified how much of the costs (to the extent that

              a monetary remedy can be effective) have already been paid by the Federal

              Government.

May 5, 2023                                 RESPECTFULLY SUBMITTED,




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